           Case 1:12-cv-10343-NMG Document 8 Filed 12/18/12 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS




DARNIQUA       SUMMERS-BROWN
                    Plaintiff                            Civil Action No. 12-CV -1 0343-NMG


v.


CREDIT MANAGEMENT,               LP and
DOES 1-10, inclusive
                    Defendants




                     STIPULATION OF DISMISSAL WITH PREJUDICE

         The parties hereby stipulate to the dismissal    of all claims with prejudice,   without costs,

and with all rights of appeal waived.


DARNIQUA        SUMMERS-BROWN                              CREDIT     MANAGEMENT,          LP

By her attorney,                                           By its attorneys,



lsi Jody Burton                                            lsi John J. O'Connor
Jody Burton, Esq.                                          John J. O'Connor,   BBO #555251
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Dated:   December    18, 2012.
              Case 1:12-cv-10343-NMG Document 8 Filed 12/18/12 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I, John 1. O'Connor, hereby certify that on the 18th day of December, 2012, I served the
attached by causing a copy thereof to be sent via ECF on the following:

        Jody Burton, Esq.
        Lemberg & Associates L.L.C.
        1100 Summer Street, 3rd Floor
        Stamford, CT 06905



                                                     lsi John 1. O'Connor



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